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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                  8:13CR220
                                               )
       vs.                                     )                   ORDER
                                               )
LANCE M. WOLFE,                                )
                                               )
                      Defendant.               )

       This matter is before the court on the motion of defendant Lance M. Wolfe (Wolfe) for
release from detention pending sentencing (Filing No. 111) as supplemented (Filing No.
112). On December 17, 2013, Wolfe was found guilty of a conspiracy to distribute and
possess with intent to distribute marijuana in violation of 21 U.S.C. § 846 (Count I) and a
conspiracy to commit money laundering in violation of 18 U.S.C. § 1956(h) (Count II)
following his plea of guilty (Filing No. 98). Wolfe is scheduled for sentencing on February
28, 2014. Previously, Wolfe sought release to the third-party custody of his mother and/or
sister in the Hastings, Nebraska, area (Filing No. 94). The motion was denied (Filing No.
109). While the bench warrant which was outstanding in Adams County has been cleared,
release to a third-party custodian in the Hastings area is unwarranted. Based on Wolfe’s
prior drug and alcohol abuse, his violation of probation in the past and prior criminal history,
Wolfe’s proposal does not reasonably assure the safety of the community in light of his
instant conviction.
       The motion (Filing No. 111) as supplemented (Filing No. 112) is denied.


       IT IS SO ORDERED.


       DATED this 6th day of February, 2014.


                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judges
